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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                                *                   CIVIL ACTION
MATTHEW MUSSON                                  *
Plaintiff                                       *                   NO. 12-1354
                                                *
versus                                          *                   SECTION H
                                                *
VIRTUAL RADIOLOGIC PROFESSIONALS, LLC           *                   MAG. DIV. 2
F/K/A NIGHTHAWK RADIOLOGY SERVICES, LLC *
AND/OR NIGHTHAWK RADIOLOGY HOLDINGS, INC*                           JURY TRIAL REQUESTED
Defendants                                      *
                                                *
* * * * * * * * * * * * * * * * * * * * * * * *


                                     PROPOSED ORDER

       Considering the above and foregoing motion, IT IS ORDERED BY THE COURT that

the stay of this matter be and is hereby lifted. It is further ORDERED BY THE COURT that this

suit be and is hereby dismissed with prejudice, each party to bear its own costs.
                                                          July
       New Orleans, Louisiana, this _______ day of __________________, 2013.



                                             __________________________________________
                                             HON. JANE TRICHE MILAZZO
                                             UNITED STATES DISTRICT JUDGE




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